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                                                                                       FILED'
                                UNITED STATES DISTRICT CO
                                                                                       APR,) 0 2012
                              SOUTHERN DISTRICT OF CALIFO


  UNITED STATES OF AMERICA,                              CASE NO.

                               Plaintiff,
                      vs.                                JUDGMENT OF DISMISSAL
  ANDREW RANGEL (2),

                               Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

        an indictment has been filed in another case against the defendant and
        the Court has granted the motion of the Government for dismissal of
        this case, without prejudice; or

        the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict,                      nding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

8:1324(a)(1)(A)(ii) and (v)(ID - Transportation of Illegal Aliens and Aiding and Abetting




              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 4/9/2012


                                                        u.S. District Judge
